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                 UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE:        THE HONORABLE MARK A. BARNETT, CHIEF JUDGE
               THE HONORABLE CLAIRE R. KELLY, JUDGE
               THE HONORABLE JENNIFER CHOE-GROVES, JUDGE
________________________________________________
                                                 :
                                                 :
In Re Section 301 Cases                          :      Court No. 21-00052
                                                 :
________________________________________________:

                   JOINT STATUS REPORT & PROPOSED SCHEDULE

       Pursuant to the Court’s April 1, 2022 Opinion and Order, Plaintiffs HMTX Industries, LLC,

Halstead New England Corp., Metroflor Corporation, and Jasco Products Company LLC, and

Defendants United States, et al., respectfully submit this “joint status report and proposed schedule

for further disposition of this litigation” within 14 days of the “Further Explanation of the Final

List 3 and List 4 Modifications in the Section 301 Action: China’s Acts, Policies, and Practices

Related to Technology Transfer, Intellectual Property, and Innovation, Pursuant to Court Remand

Order” (Remand Determination) filed by the United States Trade Representative (USTR). ECF

448 at 71; see ECF 467 (Remand Determination).

       The parties have conferred and respectfully submit that comments on the Remand

Determination from Plaintiffs and a response to those comments from Defendants would aid the

Court’s evaluation of the Remand Determination. Because the parties disagree on the schedule

and page limits for their respective submissions, each party’s proposal appears in the table

provided below and separate orders are provided:
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                              PLAINTIFFS’ PROPOSAL               DEFENDANTS’ PROPOSAL
 FILING                      DUE DATE      PAGE LIMIT            DUE DATE         PAGE LIMIT
 Plaintiffs’ Comments on     September 14, 20 Pages              No objection to No objection to
 the Remand                  2022                               plaintiffs’      plaintiffs’
 Determination                                                  proposal         proposal
 Potential Amicus Curiae     September 14,      10 Pages         No objection to No objection to
 brief from Retail           2022                               plaintiffs’      plaintiffs’
 Litigation Center et al.                                       proposal         proposal
 (which previously filed
 on notice-and-comment
 issues)
 Defendants’ Response        October 14,        20 Pages         November 14,      20 Pages plus
 to Comments on the          2022                                2022              the number of
 Remand Determination                                                              pages of the
                                                                                   briefs filed by
                                                                                   the Amicus
                                                                                   Curiae
 Plaintiffs’ Reply           November 4,        10 pages         Defendants        Defendants
                             2022                                object to the     object to the
                                                                 filing of a reply filing of a reply
                                                                 by plaintiffs     by plaintiffs

       1. The Parties’ Positions On Briefing

       Plaintiffs respectfully submit that, in light of the 120-day period the Government took to

file its 90-page Remand Determination, the subsequent briefing should be completed

expeditiously, on a standard 30-day, 30-day, 21-day schedule. That schedule would permit briefing

to be fully completed before Defendants propose to file their Response brief. In addition, Plaintiffs

believe that a short (10-page) reply brief will aid the Court’s full consideration of the major issues

to be decided in this unique proceeding—particularly given that Defendants by then will have filed

remand papers totaling at least 120 pages (including the Remand Determination itself).

       The Government has requested 60 days to file its response to plaintiffs’ comments on the

Remand Determination because of the time required to complete its response to plaintiffs’

comments based upon the need for internal review and coordination with the agencies. Also,

consistent with the Court’s general practice regarding remand proceedings, the Government


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respectfully submits that plaintiffs are not entitled to a reply. The Government’s request for

additional pages based upon the number of amicus words is consistent with the approach taken in

the Court’s scheduling order dated April 13, 2021, ECF No. 275.

       2. The Parties’ Positions On Oral Argument

       Plaintiffs respectfully submit that oral argument would aid the Court in its review of

USTR’s Remand Determination, and accordingly request that the Court schedule oral argument

following the filing of Plaintiffs’ Reply.

       Defendants take no position on Plaintiffs’ request for oral argument and defer to the Court

as to whether oral argument would assist in resolving the disputed issues.

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       Respectfully submitted,

 /s/ Matthew R. Nicely                            BRIAN M. BOYNTON
 Matthew R. Nicely                                Principal Deputy Assistant Attorney General
 Pratik A. Shah
 James E. Tysse                                   PATRICIA M. MCCARTHY
 Devin S. Sikes                                   Director
 Daniel M. Witkowski
 Sarah B. W. Kirwin                               /s/ L. Misha Preheim
                                                  L. MISHA PREHEIM
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 2001 K Street, NW
 Washington, D.C. 20006                           /s/ Justin R. Miller
                                                  JUSTIN R. MILLER
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Halstead New England Corporation, Metroflor       International Trade Field Office
Corporation, and Jasco Products Company
LLC                                               /s/ Elizabeth Speck
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                                                  Washington, D.C. 20044

                                                  Attorneys for Defendants

Date: August 15, 2022




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                      UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE:        THE HONORABLE MARK A. BARNETT, CHIEF JUDGE
               THE HONORABLE CLAIRE R. KELLY, JUDGE
               THE HONORABLE JENNIFER CHOE-GROVES, JUDGE
________________________________________________
                                                 :
                                                 :
In Re Section 301 Cases                          :      Court No. 21-00052
                                                 :
________________________________________________:

                                PLAINTIFFS’ PROPOSED ORDER

        Upon consideration of the parties’ joint status report and proposed schedule, as well as all

other papers filed in this litigation, it is hereby

        ORDERED that the parties shall adhere to the following deadlines for further disposition

of this litigation:

 FILING                                   DUE DATE                            PAGE LIMIT
 Plaintiffs’ Comments on the              September 14, 2022                  20 Pages
 Remand Determination
 Potential Amicus Curiae brief from       September 14, 2022                  10 Pages
 Retail Litigation Center et al.
 (which previously filed on notice-
 and-comment issues)
 Defendants’ Response to                  October 14, 2022                    20 Pages
 Comments on the Remand
 Determination
 Plaintiffs’ Reply                        November 4, 2022                    10 pages

        ORDERED that the Court will schedule oral argument at a later date in consultation with

the parties.
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Dated:
         New York, NY                            Mark A. Barnett, Chief Judge



                                                 Claire R. Kelly, Judge



                                                 Jennifer Choe-Groves, Judge




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                      UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE:        THE HONORABLE MARK A. BARNETT, CHIEF JUDGE
               THE HONORABLE CLAIRE R. KELLY, JUDGE
               THE HONORABLE JENNIFER CHOE-GROVES, JUDGE
________________________________________________
                                                 :
                                                 :
In Re Section 301 Cases                          :      Court No. 21-00052
                                                 :
________________________________________________:

                              DEFENDANTS’ PROPOSED ORDER

         Upon consideration of the parties’ joint status report and proposed schedule, as well as all

other papers filed in this litigation, it is hereby

         ORDERED that the parties shall adhere to the following deadlines for further disposition

of this litigation:

 FILING                                   DUE DATE                            PAGE LIMIT
 Plaintiffs’ Comments on the              September 14, 2022                  20 Pages
 Remand Determination
 Potential Amicus Curiae brief from       September 14, 2022                  10 Pages
 Retail Litigation Center et al.
 (which previously filed on notice-
 and-comment issues)
 Defendants’ Response to                  November 14, 2022                   20 Pages plus the
 Comments on the Remand                                                       number of pages of
 Determination                                                                the briefs filed by the
                                                                              Amicus Curiae

Dated:
         New York, NY                                          Mark A. Barnett, Chief Judge



                                                               Claire R. Kelly, Judge



                                                               Jennifer Choe-Groves, Judge
